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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION



KRS PROPERTIES, LLC AND WEST  §
WHARTON HOSPITAL DISTRICT     §
                              §
V.                            §                  CASE NO. 4:24-cv-00337
                              §
UNITED STATES DEPARTMENT OF §
HEALTH & HUMAN SERVICES,      §
CENTERS FOR MEDICARE &        §
MEDICAID SERVICES, THROUGH    §
ITS SECRETARY, XAVIER BECERRA §


                      PLAINTIFF’S TRO EXHIBIT INDEX

1.    4/3/24 Letter from CMS to Remarkable Health Care

2.    KRS Assignment of Lease and Lease Agreement

3.    Medical Literature re: Transfer Trauma/Relocation Stress Syndrome

4.    Affidavit/Verification of KRS Principal

5.    WFAA Transcript of Interview and Article re: Facility Closure

6.    State Operations Manual Excerpt (Severity of Deficiencies)

7.    CMS Example Notice Letters (other immediate jeopardy cases)

8.    4/8/24 Letter from Liz Boydston to CMS

9.    Temporary Restraining Order against CMS by Hon. Robert Junnell

10.   Temporary license from HHSC to WWHD

11.   Affidavits of Remarkable residents and family members




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